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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CRIMINAL NO. 21-cr-399 (RDM)
               v.                             :
                                              :
ROMAN STERLINGOV,                             :
                                              :
                       Defendant.             :

                                             ORDER

       Upon consideration of the parties’ Joint Motion To Continue Status Hearing and To

Exclude Time Under Speedy Trial Act,

       IT IS ORDERED, that the status hearing currently scheduled for September 1, 2021 at 3:30

p.m. be continued until September _______, 2021, at _______ a.m./p.m.;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3161(h)(7)(A), that the time period

from September 1, 2021 until September _______, 2021, be excluded from computation of time

under the Speedy Trial Act in this case, in order to give defense counsel time to review the

voluminous discovery in this matter and to allow time for the parties to continue their discussions

for a disposition of this matter short of trial, and that the ends of justice served by taking such

action outweigh the best interest of the public and the defendant in a speedy trial.

Dated this ______ day of August, 2021.




                                                      RANDOLPH D. MOSS
                                                      UNITED STATES DISTRICT JUDGE
